       Case 2:24-cv-06775-GAM          Document 15-4       Filed 02/19/25       Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Meridian Equipment Finance, LLC                    )
                                                   )
                             Plaintiff,            )       Civil Action No. 24-6775
                                                   )
v.                                                 )
Rejuvenation Treatment Center, LLC                 )
d/b/a Center for Urology, Abraham L.               )       Complaint filed: July 2, 2024
Woods III, M.D., PA and Abraham L.                 )       Philadelphia Court of Common Pleas
Woods, III                                         )
                             Defendants            )       Case No. 240700279
                                                   )
v.                                                 )
BTL Industries, Inc.                               )
                             Additional Defendant. )
__________________________________________)


                                CERTIFICATE OF SERVICE

      I, Ying Zhou, hereby certify that the foregoing Response in Opposition to BTL Industries,

Inc.'s Motion to Dismiss the First Amended Joinder Complaint was electronically filed on

February 19, 2025 and is available for viewing and downloading through the Court’s CM/ECF

system by the following counsel of record for Plaintiff and Additional Defendant:

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